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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION


 MICHAEL NOLAN,                                     )
                                                    )
         Plaintiffs,                                )           C/A No. 4:07-1141-JFA-TER
                                                    )
         vs.                                        )
                                                    )           AMENDED COMPLAINT
 MATTHEW HAMIDULLAH; M.L.                           )
 RIVERA; KATHRYN MACK; ALBERTO                      )              (Jury Trial Demanded)
 R. GONZALES; MICHAEL B.                            )
 MUKASEY; HARLEY G. LAPPIN; RAY                     )
 HOLT; HARRELL WATTS; THE                           )
 UNITED STATES OF AMERICA; THE                      )
 BUREAU OF PRISONS; AND JOHN                        )
 DOE                                                )
                                                    )
         Defendants.                                )

                                       Parties and Jurisdiction

        1.      Plaintiff Michael Nolan (hereinafter “Nolan”) is a resident of Hampton County, South

Carolina.

        2.      Defendant Matthew Hamidullah is the former warden of the Federal Correctional

Institution (hereinafter “FCI”) Estill prison and is a citizen of one of the states of the United States of

America. Defendant Hamidullah is sued in his official and individual capacities.

        3.      Defendant M. L. Rivera is the current warden of FCI Estill and is a resident of the

state of South Carolina. Defendant Rivera is sued in her official and individual capacities.

        4.      Defendant Kathryn Mack is an employee at FCI Estill and is a resident of the state of

South Carolina. Defendant Mack is sued in her official and individual capacities.




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       5.      Defendant Alberto Gonzales is the former Attorney General of the United States and,

upon information and belief, is a resident of the District of Columbia. Defendant Gonzales is sued in

his official and individual capacities.

       6.      Defendant Michael B. Mukasey is the current Attorney General of the United States

and, upon information and belief, is a resident of the District of Columbia. Defendant Gonzales is

sued in his official and individual capacities.

       7.      Defendant Harley G. Lappin is the Director of the Federal Bureau of Prisons and,

upon information and belief, is a resident of the District of Columbia. Defendant Lappin is sued in

his official and individual capacities.

       8.      Defendant Ray Holt is the Southeast Regional Director of the Bureau of Prisons and,

upon information and belief, is a resident of the state of Georgia. Defendant Holt is sued in his

official and individual capacities.

       9.      Defendant Harrell Watts is the National Inmate Appeals Coordinator and, upon

information and belief, is a resident of the District of Columbia. Defendant Watts is sued in his

official and individual capacities.

       10.     The United States of America is the country under whose laws the Defendants

purport to operate and under the authority by which Plaintiff alleges the constitutional violations

alleged herein are perpetrated.

       11.     The Bureau of Prison is a federal entity.

       12.     John Doe is a fictitious defendant whose proper name and capacity will be

supplemented once discovered.

       13.     The Court has jurisdiction over the parties and the subject matter of this suit and

venue is appropriate in this Court.
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                                       Factual Background

        14.     On May 24, 2004, Nolan was sentenced to a 120 month term of imprisonment for

crimes he committed in Tennessee.

        15.     At the time of his arrest, Nolan suffered from glaucoma which was causing his

eyesight to fail.

        16.     While Nolan’s eyesight was poor at the time of his arrest, Nolan was able to function

in the prison environment on his own without substantial assistance of others.

        17.     Throughout his incarceration and through the present time, however, Nolan’s

eyesight has deteriorated to the point that he is now legally blind.

        18.     Because Nolan has become legally blind in prison, he does not have any training or

experience living a sight challenged life.

        19.     For example, Nolan has never been taught how to walk with a walking stick/cane for

the blind and does not know how to read Braille.

        20.     Due to the nature of Nolan’s eye condition, the damage to his eyes is irreversible.

        21.     At all times relevant to this Amended Complaint, Defendants knew that Nolan had

become legally blind while in prison, knew that Nolan had no training or experience living a sight

challenged life, and knew that he needed assistance negotiating the prison environment.

        22.     Defendants knew that Nolan could not make telephone calls because he could not

read the keypad, knew that Nolan could not operate combination locks because he could not see the

numbers on the dial, knew that Nolan could not see signs identifying hazards, knew that Nolan could

not see stairways and knew that Nolan could not see the letters identifying hot and cold water in the

bathroom.


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       23.     Defendants also knew that Nolan could not read printed materials such as inmate

grievance procedures, handbooks, guidelines and regulations.

       24.     As a result of Defendants’ behavior, Nolan was required to seek the assistance of

other inmates who helped him when they could and when they would; however, Nolan was largely

required to fend for himself.

       25.     Despite Defendants’ knowledge of Nolan’s condition and lack of any training or

experience living a sight challenged life, Defendants refused to accommodate his condition and

assist him in negotiating the prison environment.

       26.     Defendants further refused to establish any policies and procedures to adequately

address Nolan’s condition.

       27.     Defendants also refused to comply with Congress’s mandate regarding an adult

literacy program with respect to Nolan.

       28.     Specifically, the United States Congress has mandated that the United States Bureau

of Prisons make genuine efforts to teach illiterate inmates how to read.

       29.     Specifically, pursuant to 18 U.S.C. § 3624(f), Congress has directed the Attorney

General to establish a “Mandatory functional literacy” program in all Bureau of Prison prisons.

       30.     The purpose of the functional literacy program is to provide federal inmates with

basic literacy skills while they are incarcerated, with the idea being that these skills will increase

their chances of succeeding in society once released.

       31.     While Defendants have implemented a functional literacy program for inmates who

have normal vision, Defendants have refused and are still refusing to make a similar program

available to Nolan who cannot read because he is legally blind.


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        32.    Defendants have further refused to make reasonable accommodations for Nolan’s

disability.

        33.    The sole reason Defendants refuse to make the functional literacy program available

to Nolan is because he is sight challenged.

        34.    There is no legitimate penal interest that is being furthered by refusing to

accommodate Nolan.

        35.    While Defendants have taken certain steps, after this suit was filed, to give the

appearance that Nolan is being accommodated and that he is participating in the literacy program,

said steps do not provide Nolan with an adequate opportunity to achieve functional literacy.

        36.    Defendants have further discriminated against Nolan due to his disability.

        37.    Defendants have excluded Nolan from the benefits of the functional literacy program

and have also excluded him from the benefits of the pay grade system due solely to his disability.

                                 FOR A FIRST CAUSE OF ACTION
                               (CRUEL AND UNUSUAL PUNISHMENT)

        38.    Nolan incorporates herein and re-alleges, as if fully set forth herein, the allegations of

all proceeding paragraphs.

        39.    Defendants’ actions as stated herein rise to the level of cruel and unusual punishment

in violation of Nolan’s rights under the Eighth Amendment and Fourteenth Amendments to the

United States Constitution, as enforced through Bivens v. Six Unknown Named Agents of the

Federal Bureau of Narcotics, 403 U.S. 388 (1971).

                                FOR A SECOND CAUSE OF ACTION
                                  (VIOLATION OF DUE PROCESS)

        40.    Nolan incorporates herein and re-alleges, as if fully set forth herein, the allegations of

all proceeding paragraphs.
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        41.     Prisoners have the constitutional right to petition the government for redress of their

grievances, which includes the right of access to the courts in order to seek redress for violations of

their constitutional rights.

        42.      Denial or undue restriction of this right is a denial of due process of law under the

United States Constitution.

        43.     Defendants violated Nolan’s due process rights by not only refusing to assist him in

obtaining access to the courts but by intentionally interfering with his ability to correctly and

effectively grieve issues related to this suit.

        44.     Defendants further interfered with Nolan’s ability to correctly and effectively pursue

his claims in court by failing and refusing to provide him with meaningful access to the grievance

system and the courts.

        45.     Nolan has suffered and will continue to suffer an actual injury as a result of

Defendants actions.

                                FOR A THIRD CAUSE OF ACTION
                    (VIOLATION OF § 504 OF THE REHABILITATION ACT OF 1973)

        46.     Plaintiff incorporates herein and re-alleges, as if fully set forth herein, the allegations

of all proceeding paragraphs.

        47.     Section 504 of the Rehabilitation Act of 1973, as amended 29 U.S.C. § 794, and the

regulations promulgated there under, prohibit discrimination against individuals with disabilities.

        48.     Nolan has been diagnosed with a physical impairment that substantially limits his

major life activities.

        49.     As a result of Nolan’s physical impairment, Defendants have denied Nolan the

opportunity to participate in the functional literacy program and pay grade program.

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        50.     As a proximate result of Defendants’ violations of section 504, Nolan has been

injured as set forth herein.

                                  FOR A FOURTH CAUSE OF ACTION
                                           (INJUNCTION)

        51.     Nolan incorporates herein and re-alleges, as if fully set forth herein, the allegations of

all proceeding paragraphs.

        52.     Defendants’ actions as alleged herein are unconstitutional.

        53.     Nolan requests that this honorable court issue an order declaring that Defendants’

actions are unconstitutional and ordering them to change their behavior.

                                      PRAYER FOR RELIEF

        54.     Now, therefore, Plaintiff prays for the following:

                      a)       That this Court inquire further into these matters;

                      b)       That this Court issue an order enjoining the Defendants’
                               unconstitutional conduct as follows:

                                1. Order the Defendants to make reasonable accommodations for
                                Nolan so that he can participate in the benefits that non-sight
                                challenged prisoners enjoy;

                                2. Order Defendants to make reasonable accommodations to improve
                                conditions where Nolan is housed so that he can read warning signs,
                                live independently in a cell, operate prison equipment and facilities
                                such as hot and cold water and locks as well as other reasonable
                                accommodations;

                                3. Order Defendants to make reasonable accommodations so that
                                Nolan can participate in the functional literacy program;

                      c)       An award of money damages of every kind allowed by the law;

                      d)       An award of attorney’s fees and all costs of this suit pursuant to the
                               Equal Access to Justice Act, 28 USC § (d)(1)(A) and any other
                               applicable law; and

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                    e)      Any other relief this Court may deem just and proper.


Respectfully submitted this 3rd day of October 2008.



                                    TWENGE + TWOMBLEY, LLC


                             BY:    /s/Ashley Twombley___________
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served a copy of the foregoing with the Clerk of the

Court using the CM/ECF system which will send electronic notification of such filing to the following:

       Barbara M. Bowens, Esquire
       Assistant United States Attorney
       1441 Main Street, Suite 500
       Columbia, SC 29201
       barbara.bowens@usdoj.gov

This 3rd day of October, 2008.

                                     TWENGE + TWOMBLEY, LLC

                                     /s/ Ashley Twombley
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